UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF COLORADO

 

In re )
)
GREGORY D. SCOTT, ) Case No. 17-16886 EEB
CONSTANCE L. SCOTT, ) Chapter 13
Debtors. )
)
)
EBERHART FAMILY TRUST, )
Movant, )
)
Vv. )
)
GREGORY D. SCOTT, )
CONSTANCE L. SCOTT, )
DOUGLAS B. KEIL, Chapter 13 Trustee, )
Respondents. )

 

MOTION FOR RELIEF FROM STAY

 

The EBERHART FAMILY TRUST (“Eberhart Trust”), through its undersigned counsel,
respectfully moves this Court for Relief From the Automatic Stay, and states as follows:

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Gregory D. Scott and Constance L. Scott (“Debtors”) filed for relief under Chapter
13 of Title 11 of the United States Code (“Bankruptcy Code”) on May 13, 2014
(“Petition Date”).

Douglas B. Keil is the duly appointed Chapter 13 Trustee of the Debtor’s bankruptcy
estate.

The Debtors are repeat filers. The Debtors previously filed for relief under Chapter
13 on May 13, 2014, Case No. 14-16606 EEB.

On July 26, 2017, this Court dismissed their prior bankruptcy case based upon the
Chapter 13 Trustee’s Motion to Dismiss following the Debtors’ default in their plan
payments. See Case No. 14-16606 EEB, Docket No. 162.

The Debtors filed their Verified Motion for Continuance of Automatic Stay Pursuant
to 11 U.S.C. § 362(c)(3)(B) (Docket No. 15) on August 3, 2017. The Eberhart Trust
filed its Objection to Verified motion for Continuation of Automatic Stay Pursuant
to 11 U.S.C. §362(c)(3)(B) (Docket No. 23) on August 21, 2017.

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The Court held a hearing on the Verified Motion and Response on August 24, 2017.
The Court denied Debtors’ Verified Motion as to the Trust, stating: “The Section
362(a) stay with respect to any action taken by the Trust with respect its debt and
property securing such debt will terminate with respect to the Debtor on the 30" day
after the filing of this case.” (Docket No. 27).

On or about December 9, 2010, the Debtors executed a Home Equity Line of Credit
Promissory Note and Credit Agreement (the “Note’’) in favor of the Eberhart Trust
Bank with a credit limit of $50,000. A copy of the Note is attached hereto as Exhibit
1 and incorporated by this reference. Under the terms of the Note, the Debtors were
required to make regular monthly payments according to a formula in the amount of
$1,554.48 beginning January 10, 2013. The Note matured on November 10, 2015.
Exhibit 1, p.J. With the accrued interest and costs through August 31, 2017, the
Eberhart Trust asserts that the amount of indebtedness exceeds $65,359.09.

In connection with the Note, Debtors granted a Revolving Deed of Trust (the “Deed
of Trust”) to the Eberhart on real property known as 5417 5.4 Road, Alamosa,
Colorado 81101 (the “Property’”). A copy of the Deed of Trust is attached hereto as
Exhibit 2 and incorporated by this reference. The Deed of Trust was recorded with
the Clerk and Recorder of Alamosa County, Colorado on December 16, 2010 at
Reception Number 344205. Id.

The Eberhart Trust learned that the Debtors cancelled their insurance policy on the
Property. Upon learning of such facts, the Eberhart Trust then paid for forced place
insurance coverage for the Property as a secured Creditor under its Deed of Trust.
A copy of the Farmers Insurance Policy Summary is attached hereto as Exhibit 3.

The Eberhart Trust also learned that the Debtors failed to pay the annual real estate
taxes on the Property for the past four (4) years. Unpaid taxes create statutory liens
against the Property. 11 U.S.C. §546. Such obligations are chargeable under the
Eberhart Trust’s Deed of Trust. A copy of the Alamosa County Treasurer Treasurers
Receipt is attached hereto as Exhibit 4.

Prior to the Debtors’ filing for relief, the Eberthart Trust commenced a foreclosure
proceeding on its Deed of Trust. The Eberhart Trust submitted a Bid to the Public
Trustee of Alamosa County itemizing all of the amounts due and owing. The
Debtors filed for relief on the eve of the foreclosure sale by the Public Trustee for
Alamosa County. The sale has been postponed during the pendency of this
bankruptcy case.
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The Eberhart Trust is lawfully entitled to foreclose upon the Property as a result of
the Debtors’ defaults of the Note and Deed of Trust, as well as their Plan. C.R.S.

§38-38-101, et. seg.

Upon information and belief, FIA Card Services, N.A., may also claim an interest
in the Property by virtue ofa Transcript of Judgment recorded on or about December
13, 2010, at Reception Number 344188 for the amount of $5,225.16.

As of the Petition Date including the Eberhart Trust and the judgment lien, the total
amount of encumbrances against the Property are approximately $70,584.25.

As of the Petition Date according to the Assessor of Alamosa County, Colorado, the
Property has a value of approximately $143,777.

The Debtors value the Property at $150,000.00. See Docket No. 1, Sch. D, p. 8. As
such, the Eberhart Trust’s claim is oversecured. The Eberhart Trust is therefore
entitled to post-petition, pre-confirmation interest, late fees, costs and its attorney’s
fees incurred in connection with this debt. In re Gledhill, 164 F.3d 1338, 1342 (10"
Cir. 1999). See also, United States v. Ron Pair Enters., Inc., 489 U.S. 235, 241
(1989). Further, the Eberhart Trust’s default interest rate of 18% is the proper rate
to apply to its Allowed Secured Claim in this case. See In re K & J Properties, Inc.,
338 B.R. 450 (Bankr.D.Colo. 2005)(Campbeil, J.)(Chapter 11 post-petition and post-
confirmation interest at contractual rate).

Any equity that the Debtors have in the Property is being eroded by the interest on
the Note and the expenses incurred by the Eberhart Trust.

As aresult of the Debtors’ pre and post-petition defaults, there is a lack of adequate
protection of the Eberhart Trust’s interest in the Property. The Eberhart Trust is
therefore entitled to relief from the automatic stay pursuant to 11 U.S.C. § 362(d)(1).

The Trustee has or may claim an interest in and to said property and the Trustee has
not cured the Debtors’ default in the performance of the terms and conditions of the
Note. The Eberhart Trust is therefore entitled to relief from stay pursuant to 11
U.S.C. § 362(d)(1).

The Eberhart Trust will apply all payments made by the Debtors under the Fourth
Amended Plan to the balance remaining due and owing.

Because of the Debtors’ default on the Note, the Eberhart Trust requests that the
Court lift the 14-day stay of execution imposed by Fed.R.Bankr.P. 4001(a)(3).
22, Attached hereto as Exhibit 5 is the affidavit of counsel for the Eberhart Trust in
compliance with the provisions of the Servicemembers Civil Relief Act of 2003, 50
App.U.S.C. § 501 et seq. and L.B.R. 4001-1 dated May 14, 2014.

WHEREFORE, the Eberhart Trust respectfully requests that this Court enter an Order
granting relief from stay, allowing the Eberhart Trust to enforce its security interest in the Property,
as set forth above, pursuant to 11 U.S.C. § 362(d)(1), and for such other and further relief as to this

Court may deem appropriate.

DATED this 1st day of September, 2017. Respectfully submitted,
BUECHLER & GARBER, LLC

/s/ Kenneth J. Buechler

 

Kenneth J. Buechier, #30906
999 18" Street, Suite 1230-S
Denver, Colorado 80202
Tel: 720-381-0045

Fax: 720-381-0382

ken@bandglawoffice.com
 

 

HOME EQUITY LINE OF CREDIT
PROMISSORY NOTE AND CREDIT AGREEMENT

BORROWER: LENDER:

Gregory D. Scott Eberhart Family Trust
Constance L. Scott

5417 5.4 Road 702 Galaxy Drive
Alamosa, CO 81101 Grand Junction, CO $1506

Date of Agreement: December 9, 2010

INTRODUCTION: This Promissory Note and Credit Agreement (“Agreement”) controls and directs the
making and administration of your Home Equity Line of Credit issued by the Eberhart Family Trust. In

this Agreement, the words “you”, “your”, and “Borrower™ mean each of you who signs this Agreement. This
includes all Borrowers listed above. The words “we”, “us*, “our”, and “Lender” mean the Eberhart Family
Trust, its successors aud/or assigns. The closing date is the date this Agreement Is signed. The funding date is
the date funds are disbursed for the initial mandatory advance, which is after the rescission period expires.
You agree to the following terms and conditions.

PROMISE TOPAY: You promise to pay the Eberhart Family Trust, its successors and/or assigns, the total
of ail Credit Advances, Finance Charges, and other charges including ail costs and expenses for which you
are liable under this Agreement or under the Deed of Trust which secures your Home Equity Line of Credit.
You will pay your Line of Credit in accordance with the payment terms set forth below. Each Berrower is
jointly, severally and fully responsible under the terms of this Agreement. Each Borrower authorizes the
other Borrower, on his or her signature alone, to cancel the Credit Line, to request and receive credit |
advances, and to do ail other things necessary to carry out the terms of this agreement. We can release any of
you from responsibility under this Agreement, aud all others will remain responsible. Untess sooner paid, all
amounts owing under the terms of this Credit Agreement shall be due and payable in full November 9, 2015.

SECURITY INTEREST/COLLATERAL: All sums due under this Home Equity Line of Credit, or amounts
advanced or incurred pursuant to the terms of the Deed of Trust are secured by a Deed of trust dated
December 9, 2010 granted by you for the benefit of the Eberhart Family Trast, it successors and/or assigns on
property located at 5417 5.4 Road, Alamosa, Colorado 81101, Alamosa County, State of Colorado. This

means we are taking a security interest in your home.

TERM: The term of your Home Equity Line of Credit will begin on the Fanding Date of this Agreement and
will continue until the Maturity Date of November 9, 1015.

SUBSEQUENT ADVANCES: After the initial advance, subsequent advances may be taken at any time with-
in the draw period as explained below. Any subsequent advances must be in an amount of at least $500.00.

MINIMUM PAYMENT REQUIREMENTS: You may obtain credit advances during the period from the
initial funding during the first twenty four (24) months after which time your loan will enfer the “Repayment
Period” during which time no further advances will be allowed. The payoff period may be less than the sixty
months (60), or the maximum term of this Agreement, but it may never exceed the maximum term to the
maturity. Monthly payments will be required during both the Draw period and the Repayment period. Your
monthly due date will be on the 10" day of each month. Your monthly minimum payment during the draw
period will be equal to the interest due on your daily outstanding balance at the Annual Percentage Rate of

Seven (7.00%) for the previous calendar month.

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EXHIBIT 1
 

The monthly payment due during the Repayment period will be based on your outstanding balance at the end
of your Draw Period, at the Annual Percentage Rate of Seven (7.00%) Percent amortized over the period of
thirty six (36) months, Your payment will not change during the Repayment Period. You agree to continue
making prompt monthly payments watil the entire outstanding balance is paid in full.

ALL PAYMENTS TO BE COMPLETED NO LATER THAN NOVEMBER 10, 2015

PAYMENT APPLICATION: Payments will be applied to any Late Fees, Finance Charges, Billed Fees, other
charges, and collection costs due before being applied to your unpaid balance. Lender has the exclusive right
to determine when exceptions as to payment application will be made.

CREDIT LIMIT: This home Equity Line of Credit is a revolving fine of credit in the principal amount
previously stated which will be called your “Credit Limit” under this Agreement. During the Draw Period
your requests for credit advances will be honored in accordance with the paragraph titled Lender's rights
below. During the Draw Period, you may berrow against the Credit Line, repay any or all amounts
borrowed and again borrow up to the amount of the Credit Limit. The maximum amount you may borrow
under this Agreement at any one time is your Credit Limit. You agree not to request or attempt to obtain .
advances against your Credit Line which would exceed your Credit Limit. Should your Credit Limit be
exceeded for any reason, you agree to immediately repay any amount in excess of the Credit Limit plus any
additional interest due. We may at our option refuse credit advances for so long as the balance due exceeds
your Credit Limit,

LATE CHARGES: Your payment is due on the 10" of each month and will be considered late if we do not
receive it within 10 days after that date. If your payment is late, you will be charged a $15.09 late fee.

CREDIT ADVANCES: You give us permission to advance monies upon your telephone or written requests
by any one of you who have signed this Agreement. All fund requested will be mailed to you immediately
unless you request an emergency advance to be wired. There will be a wiring fee in that situation.

WHEN FINANCE CHARGES BEGIN TO ACCRUE: Al) finance charges will accrue on the Funding Date
of your first draw and will begin to accrae upon each draw thereafter. The balance used to compute the
Finance Charge is determined by using the Daily Balance method. We take the balance of your account each
day after payments and credits have been subtracted and new advances and other debits have been added.

LENDER’S RIGHTS; We can terminate your Line of Credit account, require you fo pay us the entire
balance in one payment and may charge you certain fees if:

A. You engage in fraud or material misrepresentation at any time in connection with this Line

of Credit, or
B. We reasonably believe your financial situation is such that you cannot fulfill the obligations

of this plan, or
C. You are in default of any material obligation under this plan such as payment of interest,

fees, charges, and transfer of ownership of home.

FOREBEARANCE BY LENDER NOT A WAIVER: Any forbearance by Lender in exercising any right
or remedy shall not be a waiver of or preclude the exercise of any right or remedy. We may accept late
payments, partial payments or payments marked “payment in full” without losing any of eur rights under

this agreement.

COLLECTION COSTS: To the extent permitted by law, you agree to pay all reasonable costs of collection
paid or incurred by us during the collection of any amounts owed under this Agreement, including reasonable

attorney’s fees not to exceed 15% of the unpaid debt after default,

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DEFAULT INTEREST RATE: In the case of default, we may adjust the Annual Percentage Rate to 18%.

CANCELLATION: If you wish to cance! your right to future credit advances under this Agreement, you
must notify us in writing of your intention. Cancellation of this Agreement may be accomplished by just one
signer of the account. If you cancel your right to all future Advances, your obligation to perform under this
Agreement and the Deed of Trust will remain in force until all amounts due are paid in full.

PREPAYMENT: Your Home Equity Line of Credit may be prepaid at any time in whole or in part without
penalty. If you prepay your Line of Credit at any time during the Draw Period, you may take future draws
But you may not take any draws after your Draw Period expires. Payments in excess of your Minimum —
Payment will not retieve you of your obligation to continue to make your monthly minimam payments.

NOTICES: We will send all notices to you at: 6512 Cramer Road, Alamosa, CO 81101 or, if we are notified
In writing by you, your notices will be sent to $417 5.4 Road, Alamosa, CO 81101.

TRANSFER OR ASSIGNMENT: Without prior notice or approval from you, we reserve the right to scil
and/or transfer your Home Equity Line of Credit to another lender or person and to assign our rights under
this Agreement and Deed of Trust. Your rights under this Agreement belong only to you and may not be
transferred or assigned, However, your obligations are binding on your heirs and legal representatives.

EACH BORROWER ACKNOWLEDGES HAVING READ ALL THE PROVISIONS OF THIS
HOME EQUITY LINE OF CREDIT PROMISSORY NOTE AND CREDIT AGREEMENT, AND
EACH GRANTOR AGREES TO ITS TERMS,

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Creboryp foot” - Constance L, Scott

State of Colorado
County of Alamosa

 

On this day before me, a Notary Public, personally appeared GREGORY D. SCOTT AND CONSTANCE

L. SCOTT to me known to be the individuals described in and who executed the Home Equity Line of Credit
Promissory Note and Credit Agreement of their own free and voluntary act and deed, for the uses and
purposes therein mentioned.

Given under my hand and official seal this f (2 __ day of December, 2010.

Residing at _.5'(:Ge? pel 1o_ A.

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Notary Public in and for the State of Colorado My commission expires ({ / O4 f { ¢

       
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REVOLVING CREDIT DEED OF TRUST
December 9, 2010

Gregory D. Seott and Constance L, Scott

Whose address is 5417 S 5.4 Road, Alantosa, Colorade 81101 referred to below as “Grantor” and
sometimes as “Borrower") Eberhart Family Trust whose address is 702 Galaxy Drive, Grand Juaction, Colorado 81506
(referred to betow sometimes as “Lender” and sometimes as “Beneficiary”), a Colorado Family Trust existing under the
laws of the State of Colorado, and the Public Trustee of Alamosa County, Colorado (referred to below as “Trustee”.

1. CONVEYANCE AND GRANT. Fer valuable consideration, Grautor hereby frrevocably grants, transfers, and
assigns to Trustee for the benefit of Lender as Beneficiary, all of Grantor's right, title and Interest in and to the follow-
ing described real property, together with all existing or subsequently erected or affixed bulidings, improvements and
fixtures, all easements, rights of way, and appurtenances; all water, water rights and ditch rights {including stock in
utilities with ditch or irrigation rights); and all other rights, royalties, and profits relating to the real property,
including without Hmitation any rights Grantor later acquires in the fee simple title to the land, subject to a lease, if
any, and all minerals, ofl gas, geothermal and similar matters, located in the County of _ Alamosa, State of Colorado }

South Haif (4) of Tract Number Six (6) of small Farms Subdivision, located in the South one half (4) of the Northwest
One Quarter (4) of Section 36,Tawnship 38 North, Range Nine (9) East, NMPM, in Alantosa County, Colorado

With an address known as S417 $5.4 Alamosa

Grantor presently assigns to Lender (also known as Beneficiary in this Deed of Trust} al of Grantor's right, title and
interest in and to all present and future leases of the Property.

2. DEFINITIONS, The following words shall have the following meanings when used in this Deed of Trust. Terms not
otherwise defined in this Deed of Trust shall have the meanings attributed to such terms in the Colorado Uniform

Commercial Code.

Beneficiary, The word “Beneficiary” means Eberhart Family Trust, its successors and assigns. Eberhart Family Trast
also is referred to as “Lender” in this Deed of Trust.

Borrower. The word “Borrower” unless otherwise provided in this Deed of Trust, means the Grantor and meaas each
and every person who signs the Home Equity Line of Credit secured by this Deed af Trust.

Credit Agreement. The words “Credit Agreement” mean the Revolving Credit Agreement dated Decentber 9, 2010,

with a credif limit in the amount of Fifty Thousand Dollars ($50,000.60),

The maturity date of this Deed of Trust, which is the date by which all indebtedness under the Credit Agreement and
this Deed of Trust is due on : Novembor 9, 2015.

Grantor, The word “Grantor” means any and ail persons and entitles executing this Deed of Trust.

Indebtedness. The word “indebtedness” means all principal and interest and other amounts payable under the Credit
Agreement and any amounts exponded or advanced by Lender to discharge obligations of Grantor or expenses incurred
by Trustee or Lender to enforce obligations of Grantor under this Deed of Trust, together with interest on suck
amounts as provided in this Deed of Trust. Specificaliy, without limitation, this Deed of Trust secures a revolving line
of credit, which obligates Lendet to make advances to Borrower so long as Borrower complies with all the terms of the
Credit Agreement. Such advances may be made, repaid, and remade from time to time, subject to the jimitation that
the total outstanding agreement, any temporary overages, other charges, and any amounts expended or advanced as
provided in this paragraph, shall not exceed the Credit Limit as provided in the Credit Agreement,

Notwithstanding the amount qutstanding at any particular time, this Deed of Trust secures the total Credit Agreement
amount shown above, The wapaid balance of the revolving line of credit may at certain times be lower than the amount
shown or zero. A zero balance does not terminate the line of credit or terminate Lender’s obligation te advance fands

to Borrower.

Personal property, The wards “Personal Property” mean all equipment, fixtures, and other articles ef personal
property now or hercafler owned by Grantor, and now or hereafter attached or affixed to the Real Property; together
with alt accessories, parts, and additions to, all replacements of, and substitutions for, any of such property; and
togetlrer with ali proceeds (inducing without limitation all insurance proceeds and refunds of premiums) from any sale

or other disposition af the Property.

Related Documents. The words “Related Documents” mean and include without limitation ail promissory notes, eredit

agreements, loan agreements, guaranties, security agreements, mortgages, deeds of trast, and all other instraments and
documents, whether now or hereafter existing, executed in connection with borrower's indebtedness to Lender.

Trustee. The word “Trustee” means the Public Trustee of the county where in the Real Property is located,
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3. PAYMENTAND PERFORMANCE: Except as otherwise provided in this Deed of ‘rust, Grantor shall pay to
Lender al! amounts secured by this Deed of Trust as they became due, and shall strictly and in a timely manner perform
all of Grantor's obligations under the Home Equity Line of Credit Agreement and this Deed of Trust.

 

 

4. POSSESSION AND USE: Until the occurrence of an Event of Default, Grantor may remain in possession and
control of the Property, use, operate or manage the Property, and collect any Rents from the Property aud shall
maintain the Property in good condition and promptly perform all repairs and maintenance necessary to preserve its
value.

5. DUE ON SALE BY LENDER: Lender may, at its option, have the right to accelerate, that is, declare immediately
aye and pzyabie all sums secared by this Deed of Trost upon the sale or transfer, without the Lender's prior written
consent, of all or any part of the Real Property, or any interest in the Real Property. {f Grantor sells or transfers the
Real Property without the written consent of Lender, then, prior to acceleration Lender shall give notice to Grantor
which shall provide a period of not less than ten (10) days from the daie of the notice within which Grantor may pay the
sums declared due, If Grantor fails to pay those sums prior to the expiration of such peried, Lender may, without
further notice or demand on Grantor, invoke any remedies permitted in this Deed of Trust. A “sale or transfer” means
the conveyance of Real Property or any right, title or interest therein. Any person to whom all or part of the Real
Property is sold or transferred also shall be obligated to give notice ta Lender, as provided in this Deed of Trust,

promptly after such transfer.

6 TAXES AND LIENS: Grantor shall pay when due (and in all events prior to delinquency) all taxes, assessments,
charges, fines and impositions levied against or on account of the property, and shall pay when due all claims for work.
done on or for services rendered or material furnished to the Property.

7, RIGHT TO CONTEST. Grantor may withhold payment of any tax, assessment or claim in connection with a good
faith dispute over the obligation te pay, so long as Lender’s interest in the Property is not jeopardized, if alien arises or
is filed as a result of nonpayment. Grantor shall, within fifteen (15) days after the lien ariges or, if a lien is fled after
Grantor has notice of the filing, secure the discharge of the lien, or if requested by Lender, deposit with Lender cash or
a sufficient corporate surety bond or other security satisfactory to Lender in an amount sufficient to discharge the lien
plus any costs and attorneys’ fees or other charges that could accrue as a result of a foreclosure or sale under the lien.
in any contest Grautor shall defend itself and Lender and shall satisfy any adverse judgment against the Property.
Grantor shall name Lender as an additional obligee under any surety bond furnished in the contest proceedings,

Notice of Construction and Payment. Grantor shall upon demand furnish te Lender at least fifteen (15) days prior
before any work is commenced, any services are furnished or any materials ave supplied to the Property if any
mechanic's lien, or other lien could be asserted on account of the work or material, and will supply proof of the

payrrent of such wark or material.

8 PROPERTY ENSURACE. Grantor shail maintain insurance on the property with standard extended coverage
endorsements for the full insurable value covering all improvements on the Property, with a standard morigagee clause
in faver of Lender. Grantor witi notify Lender of any loss or damage to the Property if, in the case of damage, the
estimated cost of repair or replacement exceeds $10,000. If damage fs extensive and the Property cannot be repaired,

Lender is to be reimbursed for the amount of its loss.

9. WARRANTY AND DEFENSE OF TITLE. Grantor warrants that Grantor holds good and marketable title of
record to the Property, free and clear of all liens and encumbrances except those of record and Grantor has the full
right, power and authority to execute and deliver this Deed of Trust fo Lender. Grantor will forever defend the title

against the lawfui claims of ail persons.

19, CONDEMNATION, If all or part of the property is condemned, Lender may, at ifs election require that all or any
portion of the net proceeds of the award be apptied to the indebtedness under the Home Equity Line of Credit

Agreement.
MH. EXISTING INDEBTEDNESS. Grantors hereby declare that there are no existing liens on the Property.

12, RIGHTS AND REMEDIES ON DEFAULT. Upon the occurrence of any of Event of Default and at any time
thereafter, Lender or Trustee, at its cption, may exercise any one or more of the following rights and remedies
in addition to any other remedies provided by law:

1. Lender may declare the entire indebtedness immediately duc and payable subject to notice as required
by applicable law.

2. Lender shall have the right te foreclose, said Property to be sold by Trustee according to the laws of
Colorado. The Trustee shall apply all proceeds first to all costs and expenses of the sale, including
Trustee's and attorney's fees. The excess shall be paid to the persons legally entitled to the excess.

3. Lender may appoint a Receiver to take possession of the Property, to protect and manage it preceding
Foreciosure.

4. Trustee or Lender shall liave any other right or remedy provided in this Deed of Trust or the Home
Equity Line of Credit Agreement or by law.

5. Lender may exercise Hs rights to file a notice of election and demand with the Trustee, that all or part
of the Property be sold, Lender shall be entitied to bid on any part of the Property at any public
sale and be entitled to use any or all of the Indebtedness as payment for part or all of the Property.
 

 

 

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13. ATTORNEY'S FEES, If Lender forecloses or institutes any suit or action to enforce any of the terms
of this Deed of Trust, Lender shall be entitled to recover such sums a3 the law allows up to 15% of the of the
unpaid debt, plus ail other costs and fees necessary to obtain payment of unpaid indebtedness,

Trustee shall have all of the rights of Lender as set forth in this section.

14. GRANTOR’S RIGHT TO REINSTATE. If Grantor meets certain conditions, Grantor shall have the right
to have reinforcement of this Deed of Trust discontinued at anytime prior to the earlier of (1) five days before
the sale of Property pursuant to any sale allowed in this Deed of Trust. Conditions are that Grantor pay all
costs and amounts due to cure any default,

15. POWERS AND OBLIGATIONS OF TRUSTEE. The following provisions relating to the powers and obliga-
tions of Trustee are part of this Deed of Trast.

1. Trustee shall not be obligated to notify any other lien holder of the Property of the commencement of a
foreclosure proceeding or of the commencement of any other action to which Lender may avail itself as a remedy,
according to the extent of the applicable laws of Colorado. The trustee shail be obligated to meet all qualifications
required for all Trustees in the State of Colorado.

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tl. Successors and Assigns. This Deed of Trust shall be binding upon and inure to the benefit of the parties,
their successors and assigns.

2, Time is of the Essence in the performance of this Deed of Trust.

3. Waiver of Homestead Exemption. Grantor hereby releases and waives all rights aad benefits of the home
Stead exemption laws of the Staie of Colorado as to all indebtedness secured by this Deed of Trust,

16, GOVERNING LAW: SEVERABILITY. This Agrcemecnt is governed by federal law and the laws of the State of

Colorado. In the event that any provision or clause of this Agreement or the Deed of Trust conflicts with applicable
law, such conflict shall not affect other provisions of this Deed of Trust or the Line of Credit Promissory Note, which
can bs given without the conflicting provision, To this end, provisions of this Deed of Trust are declared to bo
severable. In the event of any discrepancies between this Deed of Trust and the Line of Credit Promissory Note shail

prevail,

ACKNOWLEDGMENT You hereby acknowledge that you have read al the conditions of this Deed of Trust and you
acknowledge receipt of a copy of this Deed of Trust. You understand and agree to the terms and conditions in this

document

Gregory D. Scott ¢

 Constense % sheer

Constance L. Scott

STATE OF COLORADO
COUNTY OF ALAMOSA

/O _ day of December, 2010

 

The foregoing instrument was acknowledged, subscribed, and sworn to before me this
by Gregory D. Scott and Constance L. Scott a

     

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CLARINE C DENTON

201 PIKE AVE i
ALAMOSA, CO 81101 FA ME RS
INSURANCE
New Policy Summary
Your Farmers Agent
Clarine C Denton
201 Pike Ave
Oa oR Alamosa, CO 81101
719-589-0747
GRAND JUNCTION CO 81506 Fax: 719-589-4617
cdenton@farmersagent.com
Customer Service
7/18/2017 1-800-FARMERS or 1-800-327-6377
Dear JoAnn Eberhart, Online
Please review the following information about your new purchase. If any information is Manage your policies online at
incorrect, please contact us. farmers.com, where you can:
Policy D M e¢ View and pay your bill
Your Po icy Details * View Policy documents
; * Enrollin Paperless
Home Policy #99658-32-20 * Print Evidence of Insurance
* Coverage effective: 7/18/2017 12:01 AM through 7/18/2018 12:01 AM

* Property location:
o 5417 County Road 5.4S Alamosa, CO 81101-9771

What Happens Next

j Document and signature requirements
To continue receiving certain discounts and coverage selections that have been included with your policy, you must provide the

documents below by 8/12/2017. Failure to submit the required documents may result in changes to your policy or premium.

Please provide the following documents directly to us:
¢ Application/Memorandum for Fire Insurance

« Subscription Agreement

If you've recently provided these documents, you can disregard this request. Your agent may contact you if additional
documents are required.

Your Billing & Payment

This is not a bill. Your bill with the amount due will be mailed separately.

Billing Account #AXXXXXXXX
* Home Policy #99658-32-20
© 12-month policy premium and fees: $926.69

 

* Payment Information
o Monthly: Your next payment of $71.73 is due on 8/18/2017 for the policy(s) listed above. EXHIBIT 3

 

 

 

farmers.com To file a claim, call Questions? Manage your account:
1-800-435-7764 Call your agent Clarine C Denton at Go to www.farmers.com to access
719-589-0747 or email your account any time!

cdenton@farmersagent.com

25-5029 2-15 This document cannot be used as Evidence of Insurance Page 1 of 2
New Policy Summary (continued)

o This payment plan includes a service charge per installment not included in the payment amount above. Ask your agent
about payment and billing options that avoid service charges and save you money.

Your Account Communication Preferences
Policy Policy Documents Evidence of Insurance Billing Statements Signatures/Documents

Home Policy #99658-32-20 By mail and online Upon Request By mail and online Provide documents to agent

Thank you for choosing Farmers!
We appreciate your business, and are grateful for the opportunity to serve your insurance needs. Please don't hesitate to contact us for

assistance if you have any questions.
Sincerely,

Farmers Insurance

Clarine C Denton
719-589-0747
cdenton@farmersagent.com

farmers.com To file a claim, call Questions? Manage your account:
1-800-435-7764 Call your agent Clarine C Denton at Go to www.farmers.com to access
719-589-0747 or email your account any time!

cdenton@farmersagent.com

25-5029 2-15 This document cannot be used as Evidence of Insurance Page 2 of 2
 

 

 

ALAMOSA COUNTY TREASURER

: . Treasurers Receipt

4 For Tax Collections

‘Report of Multiple Transactions
"Eage Number 1

 

 

 

Pf n ‘Paid By: Eberhart: Family Trust_

 

| ALAMOSA, COLORADO 81101
- 738 689-3626

 

 

 

 

 

  

- Receipt Trans. Tax Property Book Cert. Amount Actual
. Number Code Year _.. Number /Fund /Account Paid Value
_ 6557 Normal 2013 528725303010 © 574.08 143,777]
5558 Normal 2014 528725303010 1,164.24 143,777
5559 Normal 2015 528725303010 1,069.59 143,777
5560 Normal 2016 528725303010 -959:69: 143,777
. | Totals ..Due: 3,767.60 Tendered: . 3,767.60
P Change Returned 0.00 Using: ck01079 ~—
| Comments: &,
| LOIS WIDRALM
“ TALAMOSA COUNTY TREASURER EXHIBIT 4
' $8999 INDEPENDENCE WAY ,STE 104
PP. 0. BOX 659 -

 

 
UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF COLORADO

 

In re )
)
GREGORY D. SCOTT, } Case No. 17-16886-EEB
CONSTANCE L. SCOTT, ) Chapter 13
Debtors. )
)
EBERHART FAMILY TRUST, )
Movant, )
Vv. )
)
GREGORY D. SCOTT, )
CONSTANCE L. SCOTT, )
DOUGLAS B. KEIL, Chapter 13 Trustee, )
Respondents. )

 

STATE OF COLORADO

CITY & COUNTY OF DENVER

AFFIDAVIT OF KENNETH J. BUECHLER

KENNETH J. BUECHLER, being first duly sworn and deposed, states as follows:

Tam the Attorney for the Eberhart Family Trust which has filed a Renewed Motion for Relief from
Stay in the above-referenced case, and I have personal knowledge of the facts stated herein.

Thereby certify that the Trust or its agents conducted a prior diligent search of the information data
banks of the records of the Army, Navy, Air Force, Coast Guard, Marines, Public Health Service, and
commissioned officer records of the National Oceanic and Atmospheric Administration, under the
provisions of the Servicemembers Civil Relief Act of 2003. I further certify that the Trust or its
agents did not find any records that the Debtors are currently in active service. A copy of the e-mails
of the search results from the SCRA Centralized Verification Service dated May 21, 2014 is attached
hereto.

FURTHER AFFIANT SAYETH NAUGHT. L/W

eth J. Buechler
)
) ss.
)

On this [: ‘7 day of September, 2017, before me personally came Kenneth J. Buechler, known to me

to be the individual who executed the foregoing Affidavit and who acknowledged execution of the same.

 

 

 

Notary Public

 

EXHIBIT 5

 

 

 
Sharon Fox

From: Support@ServicemembersCivilReliefAct.com

Sent: Wednesday, May 21, 2014 12:21 PM

To: Sharon Fox

Subject: SCRA Verification Results - Servicemembers Civil Relief Act Centralized Verification Service

 

   
       
   

- Tracking Number

201405213828

Name Customer

SCOTT, GREGORY DWAYNE

   

 

 

Based upon name and social security number you have furnished, as of 05/21/2014 (“Active Duty Status Date”), there is
no information in the Department of Defense Manpower Data Center (“DMDC”) that indicates that the individual is in
Active Duty Status.

Upon searching the data banks of the Department of Defense Manpower Data Center, based upon the information that you
provided, the above is the status of the individual ("Subject") on the Active Duty Status Date, as to all branches of the
Uniformed Services (Army, Navy, Marine Corps, Air Force, NOAA, Public Health, and Coast Guard). This status
includes information on a Servicemember or his/her unit receiving notification of future orders to report for active duty.

Servicemembers Civil Relief Act Centralized Verification Service

By: Roy L. Kaufmann
Roy L. Kaufmann, Authorized Signatory
Date: 05/21/2014

For support: Support@ServicemembersCivilReliefAct.com or Suppor(@SCRA.com

This report is based upon information that you have provided. Providing an erroneous name, social security number, date of birth or other information may cause an erroneous report to be provided. If you obtain
further information about the person you may resubmit your request and we will provide new status report for that query. This response reflects status as of Active Duty Status Date only, For historical
information, please resubmit your inquiry with a different Active Duty Status Date or contact the individual Military Service SCRA points-of-

contact hyww Servi ersCivilReliefAct.com/live/link/points-of-contact.php . If you have evidence that the individual is/was on active duty as of the Active Duty Status Date and you fail to obtain
‘his additional information, punitive provisions of the SCRA may be invoked against you. See 50 USC Section 521(c).

The Servicernembers Civil Relief Act Centralized Verification Service processes SCRA verifications through the Defense Manpower Data Center (OMDC) which is an organization of the United States
Department of Defense (DoD) that maintains the Defense Enrollment and Eligibility Reporting System (DEERS) database which is the official source of data on eligibility for military care and other eligibility
systems.

This response reflects the following information: (1) the Active Duty status as of the Active Duty Status Date, (2) Whether the individual left Active Duty status within 367 days preceding the Active Duty Status
Date, and (3) Whether the individual or his/her unit received early notification to report for active duty on the Date of Interest. Records do not predate September 30, 1985.

More information on Active Duty Status :

Active duty status as reported in this report is defined in accordance with 10 USC Section 101(d} (1). Prior to 2010 only some of the active duty periods less than 30 consecutive days in length were available. In
he case ofa member of the National Guard, this includes service under a call to active service authorized by the President or the Secretary of Defense under 32 USC Section 502(f) for purposes of responding to
a national emergency declared by the President and supported by Federal finds. All Active Guard Reserve (AGR) members must be assigned against an authorized mobilization position in the unit they support.
This includes Navy Training and Administration of the Reserves (TARs), Marine Corps Active Reserve (ARs) and Coast Guard Reserve Program Administrators (RPAs). Active Duty status also applies to a
Uniformed Service member who is an active duty commissioned officer of the U.5S.Public Health Service or the National Oceanic and Atmospheric Administration (NOAA Commissioned Corps),

Coverage Coverage Under the SCRA is broader in Some Cases.
~overage under SCRA is broader in some cases and includes some categories of persons on active duty for purposes of the SCRA who would not be reparted as on Active Duty under this report.

Many times orders are amended to extend the period of active duty, which would extend SCRA protections. Persons seeking to rely on this certification should check to make sure the orders on which SCRA
srotections are based have not been amended to extend the inclusive dates of service, Furthermore, some protections of the SCRA may extend to persons who have received orders to report for active duty or to
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Sharon Fox

From: Support@ServicemembersCivilReliefAct.com

Sent: Wednesday, May 21, 2014 12:21 PM

To: Sharon Fox

Subject: SCRA Verification Results - Servicemembers Civil Relief Act Centralized Verification Service

 

     

 

Tracking Number

201405213829

    

Name . ; Customer

ERI | ora a ng ron ere peer german perenne renee eban anes

‘SCOTT, CONSTANCE L,

     

 

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Servicemembers Civil Relief Act Centralized Verification Service

By: Roy L. Kaufmann
Roy L. Kaufmann, Authorized Signatory
Date: 05/21/2014

For support: Support@ServicemembersCivilReliefAct.com or Support@SCRA.com

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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF COLORADO

In re )

Case No. 17-16886 EEB
Chapter 13

GREGORY D. SCOTT,
CONSTANCE L. SCOTT,
Debtors.

 

EBERHART FAMILY TRUST,
v.

GREGORY D. SCOTT,
CONSTANCE L. SCOTT,
DOUGLAS B. KEIL, Chapter 13 Trustee,
Respondents. )
NOTICE OF MOTION FOR RELIEF FROM STAY
AND OPPORTUNITY FOR HEARING PURSUANT TO 11 U.S.C. §362(d)

)
)
)
)
)
Movant, )
)
)
)
)
)

OBJECTION DEADLINE: SEPTEMBER 21, 2017

YOU ARE HEREBY NOTIFIED that a Motion for Relief From Stay has been filed, a copy of which
is attached hereto.

A hearing on the motion has been set for September 28, 2017, at 1:30 p.m. in Courtroom F, at the
U.S. Custom House, 721 19" Street, Denver, Colorado 80202. The hearing will be conducted in accordance
with the provisions of L.B.R. 4001-1.

IF YOU DESIRE TO OPPOSE THIS MOTION, you must file with this Court a WRITTEN
OBJECTION to the motion on or before the objection deadline stated above and serve a copy upon the
movant’s attorney whose address is listed below.

If you file an objection, you are REQUIRED to comply with L.B.R. 4001-1 regarding hearing
procedures, including (1} the timely submission and exchange of witness lists and exhibits, and (2) attendance
at the above-scheduled hearing in person or through counsel, if required.

IF YOU FAIL TO FILE AN OBJECTION, the scheduled hearing will be vacated and an order
granting the relief requested may be granted without further notice to you.

DATED this 1st day of September, 2017. Respectfully submitted,
BUECHLER & GARBER, LLC

/s/ Kenneth J. Buechler

 

Kenneth J. Buechler, #30906

999 18" Street, Suite 1230-S

Denver, Colorado 80202

Tel: 720-381-0045/Fax: 720-381-0382

ken@bandglawoffice.com
